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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DAVID EVANS III, et al.,                       )
                                               )
                Plaintiffs,                    )
                                               ) Case No. 20 cv 2453
v.                                             )
                                               ) The Honorable Rebecca R. Pallmeyer
THOMAS J. DART, et al.,                        )
                                               )
                Defendants.                    )

 UNOPPOSED PLAINTIFF’S SECOND MOTION FOR AN EXTENSION OF TIME TO
 FILE REPLY TO DEFENDANTS’ RESPONSE (DKT. 90) TO PLAINTIFF’S MOTION
                  TO CONDITIONALLY CERTIFY CLASS

        NOW COME Plaintiffs, by and through their undersigned counsel, Cass T. Casper, Esq.,

DISPARTI LAW GROUP, P.A., and move this Honorable Court for an extension of time to file

their Reply to Defendants’ Response to Plaintiff’s Motion to Conditionally Certify Class (Dkt.

90) to and including January 21, 2022 for the following reasons.

     1. This Motion is unopposed.

     2. This is Plaintiff’s Second Motion for an extension of time to file their Reply.

     3. First, Plaintiff Joseph Tinoco passed away on the evening/overnight of January 12, 2022

and Plaintiff’s counsel is assisting the family in dealing with the situation, as well as assessing

how this affects his position in the instant case.

     4. Second, Plaintiff’s counsel has a large number of litigation responsibilities necessitating

this extension and requests an extension to and including January 21, 2022 to file this Reply for

the following reasons:

            a. Plaintiffs’ counsel must file three amended complaints in Jaimie Mireles v. Dart,
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Joel Mireles v. Dart, and Squeo v. Dart before Judge Neil Cohen by January 14, 2022, which

was ordered by him to be done by that date on January 12, 2022, just two days and this obviously

is a priority project for that reason.

            b. Plaintiff had oral argument before Judge Sophia Hall in Goral, et al. v. Dart, et

al., 17 CH 15546 on January 13, 2022.

            c. Plaintiff has a Reply to a Motion to Consolidate due in Denham v. Dart, 2020 L

10893 and Dart v. Denham, 2018 L 10207 on January 14, 2022, with a hearing date of January

23, 2022, necessitating this getting done immediately so the Court may have everything ample in

advance of the hearing date.

            d. Plaintiff has discovery due to Metra Defendants in Arriaga v. Metra, et al., on

January 14, 2022 that also need to be produced by that date.

    5. This Motion is not for dilatory purposes, but to ensure a fulsome and accurate Reply.

                                         CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Honorable Court grant

this Motion, and extend their time to file their Reply to Defendants’ Response in Opposition to

Plaintiff’s Motion to Conditionally Certify a Class (Dkt. 90) no later than January 21, 2022.

Electronically filed: January 13, 2022
                                                     Respectfully submitted,

                                                     By:   /s/ Cass T. Casper
                                                     __________________________________
                                                           One of Plaintiffs’ Attorney

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                                  CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on January 13, 2022, he caused to be

served the foregoing document on all counsel of record via this Court’s CM/ECF filing system,

and that all such counsels are registered e-filers.

                                                          /s/ Cass T. Casper
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